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  The relief described hereinbelow is SO ORDERED.



  Signed August 01, 2024.

                                                     __________________________________
                                                          CHRISTOPHER G. BRADLEY
                                                     UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

   In re:                                      §
                                               §         Case No. 23-11007-cgb
   ARTIUSID, INC.,                             §
                                               §         Chapter 7
                   Alleged Debtor.             §

                                            ORDER

            BE IT REMEMBERED that there was presented to the Court the motion for Admission

  Pro Hac Vice filed by Mark D. Bloom (“Applicant”) and the Court, having reviewed the motion,

  has decided it is meritorious.

            ACCORDINGLY, IT IS ORDERED that the Motion for Admission Pro Hac Vice is

  GRANTED, and Applicant may appear on behalf of ArtiusID, Inc. in the above case.
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         This order shall not be considered admission to practice generally before this Court or the

  U.S. District Court for the Western District of Texas.

                                                      ###

  Prepared by:
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